       Case 1:20-cv-00766-KG-SCY Document 10 Filed 09/18/20 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

NIGEL RAY LACHEY,

               Plaintiff,

v.                                                             No. 1:20-cv-00766-KG-SCY

STATE OF NEW MEXICO
SECOND JUDICIAL DISTRICT, and
STATE OF NEW MEXICO CHILD
SUPPORT ENFORMCEMENT DIVISION,

               Defendants.

                                         FINAL JUDGMENT

       Pursuant to Fed. R. Civ. P. 58(a), and consistent with the Court’s Memorandum Opinion

and Order dismissing Plaintiff’s case,

       IT IS ORDERED that this case is DISMISSED without prejudice.




                                                    __________________________________
                                                    UNITED STATES DISTRICT JUDGE
